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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON

                                  PENDLETON DIVISION

 KATHRYN DUNLAP and JAMES DUNLAP,                           Case No. 2:21-cv-00942-HL

                                              Plaintiffs,
                                                            PLAINTIFFS’ NOTICE OF
    v.                                                      VOLUNTARY DISMISSAL
                                                            PURSUANT TO F.R.C.P.
 THOMAS J. VILSACK, in his official capacity as             41(a)(1)(A)(i)
 U.S. Secretary of Agriculture; ZACH
 DUCHENEAUX, in his official capacity as
 Administrator, Farm Service Agency,

                                            Defendants.




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       On August 16, 2022, the President signed legislation that repeals the statutory provisions

at issue in this litigation. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs

James Dunlap and Kathryn Dunlap hereby give notice that this action is voluntarily dismissed.

Defendants have not served an answer or motion for summary judgment in this action.

Accordingly, Plaintiffs voluntarily dismiss this action, without prejudice. See Fed. R. Civ. P.

41(a)(1)(B).

       DATED: September 7, 2022.

       Respectfully submitted,

                                                       By /s/ Christina M. Martin
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2022, I filed the foregoing document with the Clerk

of the Court through the District Court’s ECF system, which will send notice of this filing to all

counsel of record.

                                                      s/ Christina M. Martin
                                                       Christina M. Martin




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